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 1                                                   THE HONORABLE ROBERT S. LASNIK
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 5
                               UNITED STATES DISTRICT COURT
 6                            WESTERN DISTRICT OF WASHINGTON
 7                                      AT SEATTLE

 8
     UNITED STATES OF AMERICA,                      )   No. CR19-159-RSL
 9                                                  )
                      Plaintiff,                    )
10                                                  )   MS. THOMPSON’S NOTICE OF
                 v.                                 )   INTENT TO PRESENT EXPERT
11                                                  )   EVIDENCE OF A MENTAL
     PAIGE A. THOMPSON,                             )   CONDITION PURSUANT TO
12                                                  )   FEDERAL RULE OF CRIMINAL
                      Defendant.                    )   PROCEDURE 12.2(b)
13                                                  )
                                                    )
14
15            Paige Thompson, through counsel, files this Notice of Intent to Present Expert
16   Evidence of a Mental Condition Pursuant to Federal Rules of Criminal Procedure
17   12.2(b). Rule 12.2(b), in relevant part, states:
18
              If a defendant intends to introduce expert evidence relating to a mental
19            disease or defect or any other mental condition of the defendant bearing
              on either (1) the issue of guilt or (2) the issue of punishment in a capital
20            case, the defendant must—within the time provided for filing a pretrial
21            motion or at any later time the court sets—notify an attorney for the
              government in writing of this intention and file a copy of the notice with
22            the clerk.
23            Ms. Thompson hereby provides notice to the United States Attorney’s Office of
24   her intent to present expert evidence of a mental condition.
25   //
26   //

                                                                   FEDERAL PUBLIC DEFENDER
          NOTICE OF INTENT TO PRESENT EVIDENCE                        1601 Fifth Avenue, Suite 700
          OF MENTAL CONDITION                                           Seattle, Washington 98101
          (Paige Thompson, CR19-159-RSL) - 1                                       (206) 553-1100
          Case 2:19-cr-00159-RSL Document 126 Filed 12/06/21 Page 2 of 2




 1       DATED: December 6, 2021
 2                                      Respectfully submitted,
 3
                                        /s/ Mohammad Ali Hamoudi
 4                                      MOHAMMAD ALI HAMOUDI
                                        /s/ Christopher Sanders
 5                                      CHRISTOPHER SANDERS
                                        /s/ Nancy Tenney
 6
                                        NANCY TENNEY
 7                                      Assistant Federal Public Defenders

 8                                      /s/ Brian Klein
 9                                      BRIAN KLEIN
                                        /s/ Melissa Meister
10                                      MELISSA MEISTER
                                        Waymaker LLP
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12                                      Attorneys for Paige Thompson

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                                                        FEDERAL PUBLIC DEFENDER
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     (Paige Thompson, CR19-159-RSL) - 2                                 (206) 553-1100
